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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


Steven Goldmann et al.,                                         Civ. No. 21-2530 (KMM/DJF)

                        Plaintiffs,

v.
                                                                           ORDER
Sherburne County Sheriffs Department et
al.,

                        Defendants.


       This matter is before the Court on Plaintiffs’ Counsel’s Motion to Withdraw and to Stay or

Extend Discovery Deadlines (“Motion”) (ECF No. 133). The Court does not address the motion at

this time but stays the case pending its resolution. To properly address the Motion, the Court Orders

the following:

       1.        Plaintiffs’ Counsel shall serve copies of his Motion papers and a copy of this Order

on each Plaintiff, and file an affidavit of service on the Court establishing that he completed service

by February 15, 2024;

       2.        Each Plaintiff and each Defendant shall have until April 1, 2024 to file a response to

the Motion;

       3.        Plaintiffs’ Counsel shall submit to the Court for in camera review, by email to Judge

Foster’s chambers, copies of the engagement letters with each Plaintiff remaining in the case by

February 15, 2024; and

       4.        The firm, Contreras Edin Law, PA shall file a letter on the docket by April 1, 2024

explaining its position on whether it can continue as counsel for the Plaintiffs and if not, explaining

why; and
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      5.     This matter is STAYED pending the Court’s ultimate resolution of the Motion.

SO ORDERED.


Dated: February 1, 2024                  s/ Dulce J. Foster
                                         DULCE J. FOSTER
                                         United States Magistrate Judge




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